      Case 1:19-cr-02058-SMJ     ECF No. 280   filed 06/01/21   PageID.1259 Page 1 of 2




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                                                                            FILED IN THE
                                                                        U.S. DISTRICT COURT
                                                                  EASTERN DISTRICT OF WASHINGTON
2
                                                                   Jun 01, 2021
3                                                                      SEAN F. MCAVOY, CLERK



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5                          UNITED STATES DISTRICT COURT

6                        EASTERN DISTRICT OF WASHINGTON

7    UNITED STATES OF AMERICA,                      No. 1:19-CR-02058-SMJ-5

8                        Plaintiff,                 ORDER GRANTING
                                                    DEFENDANT’S MOTION TO
9    vs.                                            MODIFY CONDITIONS OF
                                                    RELEASE
10   KARLEIGH BYBEE,
                                                    ECF No. 279
11                       Defendant.

12         Before the Court is Defendant’s Motion to Modify Conditions of Release

13   (ECF No. 279). Neither the United States, nor the United States Probation/Pretrial

14   Services Office oppose the Motion. Specifically, Defendant requests that the Court

15   modify Special Condition Nos. 9-10, which require Defendant participate in a

16   program of GPS location monitoring and home confinement. ECF No. 279. For

17   the reasons set forth in the Motion;

18         IT IS ORDERED:

19         1.     Defendant’s Motion to Modify Conditions of Release (ECF No. 279)

20   is GRANTED.


     ORDER GRANTING DEFENDANT’S MOTION TO MODIFY CONDITIONS
     OF RELEASE - 1
     Case 1:19-cr-02058-SMJ   ECF No. 280    filed 06/01/21   PageID.1260 Page 2 of 2




1        2.    Special Condition No. 9 (ECF No. 81) shall be STRICKEN.

2        3.    Special Condition No. 10 (ECF No. 81) shall be STRICKEN.

3        4.    All other conditions of release shall remain in effect.

4        DATED June 1, 2021

5                              s/Mary K. Dimke
                               MARY K. DIMKE
6                     UNITED STATES MAGISTRATE JUDGE

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     ORDER GRANTING DEFENDANT’S MOTION TO MODIFY CONDITIONS
     OF RELEASE - 2
